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UNITED STATES DISTRICT COURT FFLED 533"
WESTERN DISTRICT OF TENNESSEE
Western Division 05 JUL 2 5 PH 5: th

"'°'~~~_. D»C.

UNITED STATES OF AMERICA

 

-vs- Case No. 2:04cr20183-01D

JONATHAN CARR

 

ORDER OF TEMPORARY DETENTION
PENDING HEARINGl PURSUANT TO
BAIL REFORM ACT

Upon motion of the Government, it is ORDERED that a bond revocation hearing is set for
THURSDAY, JULY 28, 2005 at 2:45 P.M. before United States Magistrate Judge S. Thomas
Anderson in Courtroom M-3, Ninth Floor, United States Courthouse and Federal Building, 167
North Main, Memphis, TN TN. Pending this hearing, the defendant shall be held in custody by the
United States Marshal and produced for the hearing.

para Ju1y25,2005 ,O/LW g %Mk

DLANE K. VESCOVO
UNITED STATES MAGISTRATE JUDGE

 

 

1If not held immediately upon defendant's first appearance, the hearing maybe continued for up to three days upon
motion of the govemment, or up to five days upon motion of the defendant 18 U.S.C. § 3142(i)(2).

A hearing is required whenever the conditions set forth in 18 U.S.C. § 3142(t`) are present. Subsection (l) sets forth
the grounds that may be asserted only by the attorney for the govemment; subsection (2) states that a hearing is mandated
upon the motion of the attorney for the government or upon the judicial officer's own motion, if there is a serious risk that the
defendant (a) will flee or (b) will obstruct or attempt to obstruct justice, or threaten, inj ure, or intimidate or attempt to threaten,
injure, or intimidate a prospective witness or juror.

Thts document entered on the dockets st - c "“‘
with Hute 55 and/or 32(b) FRCrP on

AO 4?0 (B.'B§) Order of Ternporary Detention t

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 168 in
case 2:04-CR-20183 vvas distributed by faX, mail, or direct printing on
July 27, 2005 to the parties listed.

 

 

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Honorable Bernice Donald
US DISTRICT COURT

